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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     : MAGISTRATE NO. 21-MJ-469 (RMM)
                                              :
BRIAN CHRISTOPHER MOCK,                       :
     Defendant.                               :



                            MOTION FOR TRANSPORT ORDER

       The United States of America, by and through the undersigned Assistant United States

Attorney, respectfully requests that this Court enter an Order directing the United States

Marshals Service to transport defendant Brian Christopher Mock from the District of Minnesota

to the District of Columbia for further proceedings on the Complaint filed against him, charging

the defendant with Assaulting, Resisting, or Impeding Certain Officers in violation of 18 U.S.C.

§ 111(a)(1), Obstruction of Law Enforcement During Civil Disorder in violation of 18 U.S.C.

§ 231(a), Knowingly Entering or Remaining in any Restricted Building or Grounds Without

Lawful Authority and Disorderly and Disruptive Conduct in a Restricted Building or Grounds,

in violation of 18 U.S.C. §§ 1752(a)(1) and (a)(2), and Acts of Physical Violence in any of the

Capitol Buildings or Grounds in violation of 40 U.S.C. § 5104(e)(2)(F). In support of its motion,

the United States states as follows:

       1. On June 11, 2021, the defendant, Brian Christopher Mock, was arrested in his home

             state of Minnesota on an arrest warrant issued in the United States District Court for

             the District of Columbia by Magistrate Judge Robin M. Meriweather in connection

             with a Criminal Complaint charging the defendant with the above-listed offenses.

       2. Defendant Mock made his initial appearance on June 11, 2021 before a magistrate
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           judge in the District of Minnesota. At his initial appearance, the government made a

           motion to detain the defendant without bond pending trial.

       3. On June 15, 2021, a magistrate judge in the District of Minnesota held a detention

           hearing. At the conclusion of the hearing, the magistrate judge denied the

           government’s motion to detain the defendant without bond pending trial.

       4. An Assistant United States Attorney for the District of Minnesota orally moved to

           stay the defendant’s release pending an appeal by the government. The magistrate

           judge granted the request and stayed the defendant’s release for 24 hours, until 2:00

           p.m. Central (3:00 p.m. Eastern) on June 16, 2021.

       5. The United States filed in this Court an Emergency Motion to Review the Court’s

           Release Order on June 16, 2021.

       6. In order to have counsel appointed to represent the defendant in the District of

           Columbia, to resolve the pending motion to review the release determination made

           by the Magistrate Judge in the District of Minnesota, and to conduct further

           proceedings in this matter, the defendant, who remains temporarily detained, needs

           to be transported to the District of Columbia by the United States Marshals Service.

       Accordingly, the United States moves this Court to issue an Order directing the United

States Marshals Service to transport defendant Brian Christopher Mock forthwith to the District

of Columbia for further proceedings.




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                     Respectfully submitted,

                     CHANNING D. PHILLIPS
                     ACTING UNITED STATES ATTORNEY


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